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March 15, 2017

Hon. Judge Dalton Jr.

VIA ECF

RE:    Notice of Settlement of Doni Mason v Helvey & Associates, Inc.
       5:17-cv-00022-RBD-PRL

Your Honor:

        We represent Plaintiff in the above referenced action. We are pleased to report that the
parties have reached an agreement to settle this case.

       Accordingly, the Parties request that the Court cancel any upcoming deadlines and mark
the matter to be dismissed with prejudice.


                                                            Respectfully yours,

                                                            /s/Michael Jay Ringelheim
                                                            Michael Jay Ringelheim, Esq.
